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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION

                                                            Case No. 3:24-cv-00347-AN

                                               CERTIFICATE OF SERVICE
 FEDERAL TRADE COMISSION, et al.
 Plaintiff,
 v.
 THE KROGER COMPANY and
 ALBERTSONS COMPANIES, INC.
 Defendants.
        Case 3:24-cv-00347-AN           Document 183              Filed 06/26/24   Page 2 of 3




                                CERTIFICATE OF SERVICE


       I hereby certify that I served the COURT ORDER DATED JUNE 26, 2024 (ECF NO.

181) on the following named person on the date indicated below, by email, to said person a true

copy thereof. Email proof of service attached.



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               DATED: June 26, 2024

               Submitted by:
                                                 /s Kristen Tranetzki
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                    Case 3:24-cv-00347-AN                Document 183    Filed 06/26/24      Page 3 of 3




From:                                  Kristen Tranetzki
Sent:                                  Wednesday, June 26, 2024 2:31 PM
To:                                    Faris A. Rashid
Cc:                                    Peter Hawkes; EXT Tyler Infinger; Podoll, A. Joshua; Pitt, Jonathan; EXT
                                       Wilson.Mudge@arnoldporter.com; EXT Allison.Gardner@arnoldporter.com; Elizabeth
                                       Foster
Subject:                               Court Order on Response
Attachments:                           Activity in Case 3:24-cv-00347-AN Federal Trade Commission et al v. Kroger Company
                                       et al (FILED UNDER SEAL)




Hi Faris,

Please ﬁnd attached a copy of the court order from today. I’ve pasted the relevant docket language below as well:




Best,
Kristen


Kristen Tranetzki | Principal
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                                                                1
